        Case 4:20-cv-00323-CRW-SBJ Document 1-1 Filed 10/19/20 Page 1 of 22

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                       IN THE IOWA DISTRICT COURT FOR POLK COUNTY


 APRIL SAMP,                                          Case No. _____________

          Plaintiff,

 vs.

 TEGNA BROADCAST HOLDINGS, LLC                           PETITION AND JURY DEMAND
 d/b/a WOI-TV, TEGNA INC., SUSAN
 MCELDOON, PATTI DENNIS, and PAUL
 TRELSTAD,

          Defendants.


         COMES NOW the Plaintiff and states the following for her cause of action against

Defendants:

                                        INTRODUCTION

         1.      This is an action under the Iowa Civil Rights Act, challenging Defendants’ illegal

age discrimination, gender discrimination, and retaliation against Plaintiff.

         2.      Plaintiff April Samp is a resident of Dallas County, Iowa.

         3.      Defendant TEGNA BROADCAST HOLDINGS, LLC d/b/a WOI-TV is a

Delaware limited liability company doing business in Polk County, Iowa.

         4.      Defendant TEGNA Inc. is a Delaware corporation doing business in Polk County,

Iowa.

         5.      Defendant Susan McEldoon is a resident of Texas.

         6.      Defendant Patti Dennis is a resident of Colorado.

         7.      Defendant Paul Trelstad is a resident of Missouri.

         8.      The acts of which Plaintiff complains occurred in Polk County, Iowa.




                                                  1
                                                                                        Exhibit 1, p. 1
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                               PROCEDURAL REQUIREMENTS

       9.        On April 21, 2020, within 300 days of the acts of which she complains, Plaintiff

filed with the Iowa Civil Rights Commission charges of employment discrimination and

retaliation against Defendants.

       10.       On September 4, 2020, less than 90 days prior to the filing of this Petition, the

Iowa Civil Rights Commission issued an administrative release with respect to Plaintiff’s

charges against Defendants.

                                   FACTUAL BACKGROUND

       11.       On August 17, 2014, Plaintiff April Samp started working as the News Director at

WOI-TV in Des Moines.

       12.       When April started, WOI-TV was owned by Nexstar Media Group.

       13.       Between August 2017 and March 2018, April served as interim General Manager

of WOI-TV.

       14.       During April’s time as News Director, she formed a team that won the prestigious

Walter Cronkite National Award for Excellence in Political Journalism. Team members also won

two Regional Edward R. Murrow Awards for Hard News Reporting and Feature Reporting.

Under April’s leadership, WOI-TV won four Regional Emmy Awards for the first time in more

than 30 years.

       15.       In mid-September 2019, Nexstar merged with Tribune Media, which triggered the

divestiture of WOI-TV to TEGNA Inc. Once the sale closed, WOI-TV was owned and operated

by Defendants TEGNA BROADCAST HOLDINGS, LLC and TEGNA Inc. (collectively

referred to as “TEGNA.”)




                                                   2
                                                                                         Exhibit 1, p. 2
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       16.     Following TEGNA’s acquisition of WOI-TV, April reported to WOI-TV General

Manager Mary Ann Johnson, TEGNA Vice President of News Ellen Crooke, and TEGNA

Corporate News Director Patti Dennis.

       17.     In addition to her formal reporting relationships, April also worked closely with

TEGNA Senior Vice President Paul Trelstad, to whom the WOI-TV General Manager reported.

       18.     In October 2019, TEGNA flew April, Johnson, WOI-TV General Sales Manager

Jo McJunkin, and WOI-TV Creative Services Manager Andrea Garnant to the TEGNA corporate

headquarters in Virginia for orientation meetings.

       19.     During the visit to Virginia, April became acquainted with Crooke. Crooke wrote

April notes about how glad TEGNA was to have her on their team and how glad Crooke was to

work with April.

       20.     During the visit to Virginia, April told Crooke that she believed her most

important job was being a mom.

       21.     TEGNA fired McJunkin, a woman over 40 years old, while the WOI-TV

employees were still in Virginia for TEGNA orientation.

       22.     Later in October 2019, TEGNA fired Johnson, another woman over 40 years old.

       23.     After firing Johnson, TEGNA hired and/or contracted with Susan McEldoon to

serve as General Manager of WOI-TV.

       24.     In October, April stopped reporting to Crooke. From that time on, April reported

to McEldoon and Dennis.

       25.     McEldoon had never worked in the Des Moines news market and spent most of

her time in Florida, Texas, or Chicago.




                                                3
                                                                                      Exhibit 1, p. 3
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        26.    During her time as WOI-TV General Manager, McEldoon typically was in Des

Moines just two or three days per week.

        27.    When McEldoon started, April met with McEldoon and Senior Vice President

Paul Trelstad to introduce them to the station. April presented the executives with a 12-page

document describing WOI-TV’s history and recently improved ratings.

        28.    April warned McEldoon and Trelstad that WOI-TV had a major signal problem,

as half of the viewing market could not receive the station over the air.

        29.    April told McEldoon and Trelstad that she wanted to hire for several positions to

further improve the station.

        30.    Neither McEldoon nor Trelstad seemed interested in the detailed information

April provided. Trelstad merely mused that WOI-TV was a “ratings-challenged station.”

        31.    April later approached McEldoon about contract negotiations for FEMALE

ANCHOR1.

        32.    April believed FEMALE ANCHOR was a key employee in the WOI-TV

newsroom, so she was relentless in encouraging WOI-TV and TEGNA to pay the anchor

accordingly.

        33.    April told McEldoon that McEldoon needed to look at the station’s budget

because women, including FEMALE ANCHOR, were being paid less than men to do the same

job.

        34.    From mid-September 2019 until her termination, April raised concerns about

WOI-TV’s discriminatory pay practices to McEldoon, Trelstad, and Dennis.




1
 The female anchor’s name is provided in a Confidential Information Form filed
contemporaneously with this Petition and Jury Demand.


                                                 4
                                                                                     Exhibit 1, p. 4
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       35.     McEldoon, Trelstad, and Dennis rebuffed April’s attempts to achieve pay

equality.

       36.     After FEMALE ANCHOR’S 2019 contract negotiation, TEGNA paid FEMALE

ANCHOR $80,000 per year and MALE ANCHOR $115,000 per year to perform the same job.

       37.     Despite the pay disparity, FEMALE ANCHOR had more job responsibilities than

MALE ANCHOR.

       38.     Elections are a huge part of a local television station’s operations.

       39.     On November 5, 2019, Iowa held regular city and school elections.

       40.     WOI-TV’s Chief Engineer, a male, failed to provide any staff to assist the

newsroom on the night of the election.

       41.     The Chief Engineer’s failure to prepare for the elections and provide staff to assist

the newsroom had a negative impact on the station’s coverage of the election.

       42.     April worked at least 16 hours on election day.

       43.     April texted McEldoon at the end of the night, expressing her frustration about

engineering failing to provide staff for the election.

       44.     Within days of the election, April asked McEldoon if she had talked to the Chief

Engineer about election night.

       45.     McEldoon told April, “This is your problem. This is something you need to fix.”

       46.     April told McEldoon there was an ongoing problem with engineering and asked if

McEldoon would hold a meeting with April and the Chief Engineer.

       47.     McEldoon responded, “This is just a good example of why men make better

leaders than women; because they aren’t so emotional.”

       48.     On December 16, 2019, Defendants fired April.




                                                  5
                                                                                       Exhibit 1, p. 5
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       49.     Defendants did not fire the Chief Engineer when they fired April.

       50.     McEldoon told April, “We just don’t think this newsroom is going to be

successful under your future leadership.”

       51.     April was the third woman over 40 years old at WOI-TV who Defendants fired in

the three months following TEGNA’s acquisition of the station.

       52.     TEGNA replaced all three women with men.

       53.     Susan McEldoon was an employee and/or agent of Defendants TEGNA

BROADCAST HOLDINGS, LLC and/or TEGNA Inc., acting at all material times within the

scope of her employment and/or agency.

       54.     Paul Trelstad was an employee and/or agent of Defendants TEGNA

BROADCAST HOLDINGS, LLC and/or TEGNA Inc., acting at all material times within the

scope of his employment and/or agency.

       55.     Patti Dennis was an employee and/or agent of Defendants TEGNA

BROADCAST HOLDINGS, LLC and/or TEGNA Inc., acting at all material times within the

scope of her employment and/or agency.

                                     COUNT I
                      VIOLATION OF THE IOWA CIVIL RIGHTS ACT
                               SEX DISCRIMINATION

       56.     Plaintiff repleads paragraphs 1 through 55 as if fully set forth herein.

       57.     Defendants discriminated against April in employment.

       58.     April’s sex was a motivating factor in Defendants’ discrimination against her.

       59.     As a result of Defendants’ acts and omissions, April has in the past and will in the

future suffer injuries and damages including, but not limited to, lost wages and benefits and

emotional distress.




                                                 6
                                                                                          Exhibit 1, p. 6
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       WHEREFORE, Plaintiff demands judgment against Defendants, jointly and severally, in

an amount which will fully and fairly compensate her for her injuries and damages, for

appropriate equitable and injunctive relief, for prejudgment and postjudgment interest, for

attorneys’ fees and litigation expenses, for the costs of this action, and for such other relief as

may be just in the circumstances and consistent with the purposes of the Iowa Civil Rights Act.

                                       COUNT II
                        VIOLATION OF THE IOWA CIVIL RIGHTS ACT
                                 AGE DISCRIMINATION

       60.       Plaintiff repleads paragraphs 1 through 59 as if fully set forth herein.

       61.       Defendants discriminated against April in employment.

       62.       April’s age was a motivating factor in Defendants’ discrimination against her.

       63.       As a result of Defendants’ acts and omissions, April has in the past and will in the

future suffer injuries and damages including, but not limited to, lost wages and benefits and

emotional distress.

       WHEREFORE, Plaintiff demands judgment against Defendants, jointly and severally, in

an amount which will fully and fairly compensate her for her injuries and damages, for

appropriate equitable and injunctive relief, for prejudgment and postjudgment interest, for

attorneys’ fees and litigation expenses, for the costs of this action, and for such other relief as

may be just in the circumstances and consistent with the purposes of the Iowa Civil Rights Act.

                                       COUNT III
                        VIOLATION OF THE IOWA CIVIL RIGHTS ACT
                                     RETALIATION

       64.       Plaintiff repleads paragraphs 1 through 63 as if fully set forth herein.

       65.       April engaged in protected activity when she opposed Defendants’ discriminatory

pay practices.




                                                   7
                                                                                            Exhibit 1, p. 7
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       66.     Defendants discriminated and/or retaliated against April by firing her.

       67.     April’s protected activity was a motivating factor in Defendants’ discrimination

and/or retaliation against her.

       68.     As a result of Defendants’ acts and omissions, April has in the past and will in the

future suffer injuries and damages including, but not limited to, lost wages and benefits and

emotional distress.

       WHEREFORE, Plaintiff demands judgment against Defendants, jointly and severally, in

an amount which will fully and fairly compensate her for her injuries and damages, for

appropriate equitable and injunctive relief, for prejudgment and postjudgment interest, for

attorneys’ fees and litigation expenses, for the costs of this action, and for such other relief as

may be just in the circumstances and consistent with the purposes of the Iowa Civil Rights Act.

                                         JURY DEMAND

       COMES NOW the Plaintiff and demands a trial by jury.


                                               /s/ Nathan Borland
                                               TIMMER & JUDKINS, P.L.L.C.
                                               Brooke Timmer AT0008821
                                               brooke@timmerjudkins.com
                                               Nathan Borland AT0011802
                                               nate@timmerjudkins.com
                                               1415 28th Street, Suite 375
                                               West Des Moines, IA 50266
                                               Telephone: (515) 259-7462
                                               Fax: (515) 361-5390
                                               ATTORNEYS FOR PLAINTIFF




                                                   8
                                                                                          Exhibit 1, p. 8
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                      IN THE IOWA DISTRICT COURT FOR POLK COUNTY


 APRIL SAMP,                                        Case No. _____________

         Plaintiff,

 vs.

 TEGNA BROADCAST HOLDINGS, LLC                           PETITION AND JURY DEMAND
 d/b/a WOI-TV, TEGNA INC., SUSAN
 MCELDOON, PATTI DENNIS, and PAUL
 TRELSTAD,

         Defendants.


TO THE ABOVE-NAMED DEFENDANT(S): PATTI DENNIS

       You are notified that a Petition at Law has been filed in the office of the clerk of this
court naming you as a defendant in this action. A copy of the Petition is attached to this notice.
The attorneys for the plaintiff are Nathan Borland and Brooke Timmer of Timmer & Judkins,
P.L.L.C., 1415 28th Street, Suite 375, West Des Moines, IA 50266. Their phone number is (515)
259-7462; facsimile number (515) 361-5390.

        You must serve a motion or answer within 20 days after service of this original notice
upon you and, within a reasonable time thereafter, file your motion or answer with the Clerk of
Court for Polk County. If you do not, judgment by default may be rendered against you for the
relief demanded in the petition.

        If you require the assistance of auxiliary aids or services to participate in court because of
a disability, immediately call your district ADA coordinator at (515) 286-3394. (If you are
hearing impaired, call Relay Iowa TTY at 1-800-735-2942).




                                               CLERK OF COURT
                                               Polk County Courthouse
                                               Des Moines, Iowa


IMPORTANT:
You are advised to seek legal advice at once to protect your interests.


                                                                                        Exhibit 1, p. 9
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STATE OF IOWA JUDICIARY                                                      Case No.   LACL148726
                                                                             County     Polk
Case Title    APRIL SAMP V TEGNA BROADCAST HOLDINGS LLC ET AL

    THIS CASE HAS BEEN FILED IN A COUNTY THAT USES ELECTRONIC FILING.
Therefore, unless the attached Petition and Original Notice contains a hearing date for your appearance, or unless you obtain an
exemption from the court, you must file your Appearance and Answer electronically.

You must register through the Iowa Judicial Branch website at http://www.iowacourts.state.ia.us/Efile and obtain a log in and
password for the purposes of filing and viewing documents on your case and of receiving service and notices from the court.

FOR GENERAL RULES AND INFORMATION ON ELECTRONIC FILING, REFER TO THE IOWA COURT RULES CHAPTER
16 PERTAINING TO THE USE OF THE ELECTRONIC DOCUMENT MANAGEMENT SYSTEM:
http://www.iowacourts.state.ia.us/Efile

FOR COURT RULES ON PROTECTION OF PERSONAL PRIVACY IN COURT FILINGS, REFER TO DIVISION VI OF IOWA
COURT RULES CHAPTER 16: http://www.iowacourts.state.ia.us/Efile




Scheduled Hearing:




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ADA coordinator at (515) 286-3394 . (If you are hearing impaired, call Relay Iowa TTY at 1-800-735-2942.)

Date Issued    09/23/2020 09:09:20 AM




District Clerk of Polk                       County

/s/ Christy Wagner
                                                                                                                       Exhibit 1, p. 10
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                      IN THE IOWA DISTRICT COURT FOR POLK COUNTY


 APRIL SAMP,                                        Case No. _____________

         Plaintiff,

 vs.

 TEGNA BROADCAST HOLDINGS, LLC                           PETITION AND JURY DEMAND
 d/b/a WOI-TV, TEGNA INC., SUSAN
 MCELDOON, PATTI DENNIS, and PAUL
 TRELSTAD,

         Defendants.


TO THE ABOVE-NAMED DEFENDANT(S): PAUL TRELSTAD

       You are notified that a Petition at Law has been filed in the office of the clerk of this
court naming you as a defendant in this action. A copy of the Petition is attached to this notice.
The attorneys for the plaintiff are Nathan Borland and Brooke Timmer of Timmer & Judkins,
P.L.L.C., 1415 28th Street, Suite 375, West Des Moines, IA 50266. Their phone number is (515)
259-7462; facsimile number (515) 361-5390.

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                                               CLERK OF COURT
                                               Polk County Courthouse
                                               Des Moines, Iowa


IMPORTANT:
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                                                                                      Exhibit 1, p. 11
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STATE OF IOWA JUDICIARY                                                      Case No.   LACL148726
                                                                             County     Polk
Case Title    APRIL SAMP V TEGNA BROADCAST HOLDINGS LLC ET AL

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COURT RULES CHAPTER 16: http://www.iowacourts.state.ia.us/Efile




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Date Issued    09/23/2020 09:09:20 AM




District Clerk of Polk                       County

/s/ Christy Wagner
                                                                                                                       Exhibit 1, p. 12
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                      IN THE IOWA DISTRICT COURT FOR POLK COUNTY


 APRIL SAMP,                                        Case No. _____________

         Plaintiff,

 vs.

 TEGNA BROADCAST HOLDINGS, LLC                           PETITION AND JURY DEMAND
 d/b/a WOI-TV, TEGNA INC., SUSAN
 MCELDOON, PATTI DENNIS, and PAUL
 TRELSTAD,

         Defendants.


TO THE ABOVE-NAMED DEFENDANT(S): SUSAN MCELDOON

       You are notified that a Petition at Law has been filed in the office of the clerk of this
court naming you as a defendant in this action. A copy of the Petition is attached to this notice.
The attorneys for the plaintiff are Nathan Borland and Brooke Timmer of Timmer & Judkins,
P.L.L.C., 1415 28th Street, Suite 375, West Des Moines, IA 50266. Their phone number is (515)
259-7462; facsimile number (515) 361-5390.

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                                               CLERK OF COURT
                                               Polk County Courthouse
                                               Des Moines, Iowa


IMPORTANT:
You are advised to seek legal advice at once to protect your interests.


                                                                                      Exhibit 1, p. 13
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STATE OF IOWA JUDICIARY                                                      Case No.   LACL148726
                                                                             County     Polk
Case Title    APRIL SAMP V TEGNA BROADCAST HOLDINGS LLC ET AL

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Scheduled Hearing:




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Date Issued    09/23/2020 09:09:20 AM




District Clerk of Polk                       County

/s/ Christy Wagner
                                                                                                                       Exhibit 1, p. 14
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                      IN THE IOWA DISTRICT COURT FOR POLK COUNTY


 APRIL SAMP,                                        Case No. _____________

         Plaintiff,

 vs.

 TEGNA BROADCAST HOLDINGS, LLC                           PETITION AND JURY DEMAND
 d/b/a WOI-TV, TEGNA INC., SUSAN
 MCELDOON, PATTI DENNIS, and PAUL
 TRELSTAD,

         Defendants.


TO THE ABOVE-NAMED DEFENDANT(S): TEGNA BROADCAST HOLDINGS, LLC
                                 d/b/a WOI-TV

       You are notified that a Petition at Law has been filed in the office of the clerk of this
court naming you as a defendant in this action. A copy of the Petition is attached to this notice.
The attorneys for the plaintiff are Nathan Borland and Brooke Timmer of Timmer & Judkins,
P.L.L.C., 1415 28th Street, Suite 375, West Des Moines, IA 50266. Their phone number is (515)
259-7462; facsimile number (515) 361-5390.

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hearing impaired, call Relay Iowa TTY at 1-800-735-2942).




                                               CLERK OF COURT
                                               Polk County Courthouse
                                               Des Moines, Iowa


IMPORTANT:
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                                                                                      Exhibit 1, p. 15
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STATE OF IOWA JUDICIARY                                                      Case No.   LACL148726
                                                                             County     Polk
Case Title    APRIL SAMP V TEGNA BROADCAST HOLDINGS LLC ET AL

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COURT RULES CHAPTER 16: http://www.iowacourts.state.ia.us/Efile




Scheduled Hearing:




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Date Issued    09/23/2020 09:09:20 AM




District Clerk of Polk                       County

/s/ Christy Wagner
                                                                                                                       Exhibit 1, p. 16
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                      IN THE IOWA DISTRICT COURT FOR POLK COUNTY


 APRIL SAMP,                                        Case No. _____________

         Plaintiff,

 vs.

 TEGNA BROADCAST HOLDINGS, LLC                           PETITION AND JURY DEMAND
 d/b/a WOI-TV, TEGNA INC., SUSAN
 MCELDOON, PATTI DENNIS, and PAUL
 TRELSTAD,

         Defendants.


TO THE ABOVE-NAMED DEFENDANT(S): TEGNA INC.

       You are notified that a Petition at Law has been filed in the office of the clerk of this
court naming you as a defendant in this action. A copy of the Petition is attached to this notice.
The attorneys for the plaintiff are Nathan Borland and Brooke Timmer of Timmer & Judkins,
P.L.L.C., 1415 28th Street, Suite 375, West Des Moines, IA 50266. Their phone number is (515)
259-7462; facsimile number (515) 361-5390.

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relief demanded in the petition.

        If you require the assistance of auxiliary aids or services to participate in court because of
a disability, immediately call your district ADA coordinator at (515) 286-3394. (If you are
hearing impaired, call Relay Iowa TTY at 1-800-735-2942).




                                               CLERK OF COURT
                                               Polk County Courthouse
                                               Des Moines, Iowa


IMPORTANT:
You are advised to seek legal advice at once to protect your interests.


                                                                                      Exhibit 1, p. 17
  Case 4:20-cv-00323-CRW-SBJ Document 1-1 Filed 10/19/20 Page 18 of 22

                  E-FILED 2020 SEP 23 9:09 AM POLK - CLERK OF DISTRICT COURT




STATE OF IOWA JUDICIARY                                                      Case No.   LACL148726
                                                                             County     Polk
Case Title    APRIL SAMP V TEGNA BROADCAST HOLDINGS LLC ET AL

    THIS CASE HAS BEEN FILED IN A COUNTY THAT USES ELECTRONIC FILING.
Therefore, unless the attached Petition and Original Notice contains a hearing date for your appearance, or unless you obtain an
exemption from the court, you must file your Appearance and Answer electronically.

You must register through the Iowa Judicial Branch website at http://www.iowacourts.state.ia.us/Efile and obtain a log in and
password for the purposes of filing and viewing documents on your case and of receiving service and notices from the court.

FOR GENERAL RULES AND INFORMATION ON ELECTRONIC FILING, REFER TO THE IOWA COURT RULES CHAPTER
16 PERTAINING TO THE USE OF THE ELECTRONIC DOCUMENT MANAGEMENT SYSTEM:
http://www.iowacourts.state.ia.us/Efile

FOR COURT RULES ON PROTECTION OF PERSONAL PRIVACY IN COURT FILINGS, REFER TO DIVISION VI OF IOWA
COURT RULES CHAPTER 16: http://www.iowacourts.state.ia.us/Efile




Scheduled Hearing:




If you require the assistance of auxiliary aids or services to participate in court because of a disability, immediately call your district
ADA coordinator at (515) 286-3394 . (If you are hearing impaired, call Relay Iowa TTY at 1-800-735-2942.)

Date Issued    09/23/2020 09:09:20 AM




District Clerk of Polk                       County

/s/ Christy Wagner
                                                                                                                       Exhibit 1, p. 18
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                   E-FILED 2020 OCT 01 3:20 PM POLK - CLERK OF DISTRICT COURT


                     IN THE IOWA DISTRICT COURT FOR POLK COUNTY


 APRIL SAMP,                                          Case No. LACL148726

        Plaintiff,

 vs.

 TEGNA BROADCAST HOLDINGS, LLC                              ACCEPTANCE OF SERVICE
 d/b/a WOI-TV, TEGNA INC., SUSAN
 MCELDOON, PATTI DENNIS, and PAUL
 TRELSTAD,

        Defendants.

       COMES NOW the undersigned, on behalf of Defendants TEGNA BROADCAST

HOLDINGS, LLC d/b/a WOI-TV; TEGNA INC.; SUSAN MCELDOON; PATTI DENNIS; and

PAUL TRELSTAD, and hereby accepts service of the Petition and Jury Demand and Original

Notices in this matter.

       Dated this 1st day of October, 2020.




                                              FREDRIKSON & BYRON, P.A.
                                              Bridget R. Penick (AT6147)
                                              Kendra D. Simmons (AT12988)
                                              bpenick@fredlaw.com
                                              ksimm ons@fredlaw.com
                                              505 E. Grand Ave., Suite 200
                                              Des Moines, IA 50309
                                              Telephone: 515-242-8900
                                              Facsimile: 515-242-8950

                                              ATTORNEYS FOR DEFENDANTS

        Signed and sworn to (or affirmed) before me this pt day of October, 2020, by Kendra D.

Simm ons.~----------,
           "#.       ELLEN J. WORKMAN
           £, Commission Number 743407
           '±si,'
            7ow»
                      My Commission Expires
                      October 13, 20                    Rs-
                                                      1.aZ.,


                                                                                 Exhibit 1, p. 19
Case 4:20-cv-00323-CRW-SBJ Document 1-1 Filed 10/19/20 Page 20 of 22


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                                                                        Exhibit 1, p. 20
       Case 4:20-cv-00323-CRW-SBJ Document 1-1 Filed 10/19/20 Page 21 of 22

                E-FILED 2020 OCT 16 9:10 AM POLK - CLERK OF DISTRICT COURT




                      IN THE IOWA DISTRICT COURT FOR POLK COUNTY


 APRIL SAMP,                                         Case No. LACL148726

         Plaintiff,

 vs.

 TEGNA BROADCAST HOLDINGS, LLC                       MOTION FOR LEAVE TO FILE
 d/b/a WOI-TV, TEGNA INC., SUSAN                     CONFIDENTIAL INFORMATION
 MCELDOON, PATTI DENNIS, and PAUL                    FORM REGARDING PLAINTIFF’S
 TRELSTAD,                                           PETITION AND JURY DEMAND
                                                     UNDER SEAL
         Defendants.


        COMES NOW the Plaintiff and states the following as her Motion for Leave to File

Confidential Information Form Regarding Plaintiff’s Petition and Jury Demand Under Seal:

        1.      Plaintiff filed her Petition and Jury Demand on September 21, 2020.

        2.      Plaintiff’s Petition and Jury Demand contains pseudonyms to protect the

confidentiality of information about third parties’ employment status, wages, and contract

negotiations.

        3.      Plaintiff has prepared a Confidential Information Form containing the identity of

the third parties to whom she referred by pseudonym.

        4.      Plaintiff requests the Court’s permission to file the Confidential Information Form

under seal.

        WHEREFORE, Plaintiff respectfully requests the Court grant her leave to file under seal

the Confidential Information Form Regarding Plaintiff’s Petition and Jury Demand.




                                                 1
                                                                                      Exhibit 1, p. 21
Case 4:20-cv-00323-CRW-SBJ Document 1-1 Filed 10/19/20 Page 22 of 22

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                                    /s/ Nathan Borland
                                    TIMMER & JUDKINS, P.L.L.C.
                                    Brooke Timmer AT0008821
                                    brooke@timmerjudkins.com
                                    Nathan Borland AT0011802
                                    nate@timmerjudkins.com
                                    1415 28th Street, Suite 375
                                    West Des Moines, IA 50266
                                    Telephone: (515) 259-7462
                                    Fax: (515) 361-5390
                                    ATTORNEYS FOR PLAINTIFF




                                       2
                                                                  Exhibit 1, p. 22
